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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

                                    )
ALFRED A. MORGAN,                   )
Plaintiff                           )
                                    )
                                    )         Civil Action No.
v.                                  )         1:19-CV-01526-CC-JKL
                                    )
TRANS UNION, LLC;                   )
EQUIFAX INFORMATION                 )
SERVICES, LLC; NELNET               )
SERVICING, LLC;                     )
UNITED STATES DEPARTMENT )
OF EDUCATION; and                   )
BETSEY DEVOS, in her official       )
capacity as Secretary of Education, )
Defendants                          )


 FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR
                     JURY TRIAL

                          I.    INTRODUCTION

Pursuant to Fed. R. Civ. P 15(a)(1)(B), Plaintiff files this First Amended Complaint

as a matter of course. The first responsive pleading to Plaintiff’s initial Complaint

was filed on June 5, 2019 when Defendant Nelnet Servicing, LLC filed its Motion

to Dismiss pursuant to Fed. R. Civ. P. 12(b)(6). Plaintiff’s First Amended Complaint

is filed within twenty one days as required. All amendments are bold faced and

italicized for the convenience of the Court and other parties.
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   1) This is an action for equitable relief, declaratory relief, actual damages,

statutory damages, punitive damages, attorney’s fees and costs brought by Plaintiff

ALFRED A. MORGAN (“Plaintiff”), an individual consumer, against Trans Union,

LLC “Trans Union”), Equifax Information Services, LLC (“Equifax”), Nelnet

Servicing, LLC (“Nelnet”), and the United States Department of Education

(“Department”) for violations of the Fair Credit Reporting Act, 15 U.S.C. §§ 1681

et seq. (“FCRA”). Plaintiff also brings this action for declaratory and injunctive

relief plus costs and attorney’s fees against United States Department of Education

(“Department”) and Secretary of Education Betsey DeVos (“Secretary”) in her

official capacity for agency actions, findings, and conclusions which were arbitrary,

capricious, an abuse of discretion, and not in accordance with the law. Plaintiff

appeals the Department’s final agency action to this United States District Court

pursuant to the Administrative Procedures Act, 5 U.S.C. § 706 (“APA”). Plaintiff

seeks a declaratory judgment pursuant to 34 C.F.R. 685.215 that Plaintiff was the

victim of a crime of identity theft.

   2) Plaintiff’s name and identity were used without his authorization to

fraudulently sign Federal Direct PLUS Student Loans. Plaintiff has attempted for

years to have the Department of Education stop attempting to collect the loans which

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were fraudulently taken out in his name. Defendants have refused to remove the

false information from Plaintiff’s credit reports despite Plaintiff’s disputes. The

Department has seized Plaintiff’s retirement funds and failed to properly discharge

the student loans which were the product of identity theft.

                          II. JURISDICTION & VENUE

   3) Subject matter jurisdiction of this court arises under 15 U.S.C. § 1692k(d), 15

U.S.C. § 1681p, and 28 U.S.C. §§ 1331, 1337, 1361

   4) The relief requested herein against the Department is authorized by the APA,

5 U.S.C. §§ 702-706, the Declaratory Judgment Act, 28 U.S.C. §§ 2201-02, and the

All Writs Act, 28 U.S.C. § 1651.

   5) Venue in this district is proper in that the Plaintiff resides here, Defendants

transact business here, the conduct complained of occurred here, and pursuant to 28

U.S.C. § 1391(b) as a substantial portion of the events transpired in this district.

                                    III. PARTIES

   6) Plaintiff is a natural person residing in Rockdale County, Georgia.

   7) Equifax Information Services, LLC (“Equifax”) is a Georgia corporation with

its principal place of business in the state of Georgia. Equifax does business in this

judicial district. Equifax is a nationwide consumer reporting agency (“CRA”) as

defined by 15 U.S.C. § 1681a(f). Equifax regularly engages in the business of

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assembling, evaluating, and disbursing information concerning consumers for the

purpose of furnishing “consumer reports” as defined at 15 U.S.C. § 1681a(f) to third

parties. Equifax disburses such consumer reports to third parties of contract for

monetary compensation.

   8) Equifax maintains its registered office at 1550 Peachtree Street, NW, Atlanta,

Georgia 30309 and names its registered agent as Lisa Stockard. Equifax can be

served with Summons and a copy of this Complaint at this address.

   9) Alternatively, Equifax may be served by personal or substitute service

pursuant to the Federal Rules of Civil Procedure and the laws of Georgia as

applicable.

   10)        Trans Union is a Delaware limited liability company with its principal

place of business in the state of Illinois. Trans Union does business in this judicial

district. Trans Union is a nationwide consumer reporting agency (“CRA”) as

defined by 15 U.S.C. § 1681a(f). Trans Union regularly engages in the business of

assembling, evaluating, and disbursing information concerning consumers for the

purpose of furnishing “consumer reports” as defined at 15 U.S.C. § 1681a(f) to third

parties. Trans Union disburses such consumer reports to third parties of contract for

monetary compensation.




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   11)       Trans Union maintains its registered office at 40 Technology Parkway

South, Suite 300, Norcross, Georgia 30092 and names its registered agent as Prentice

Hall Corporation System. Trans Union can be served with Summons and a copy of

this Complaint at this address.

   12)       Nelnet is incorporated under the laws of Nebraska, and has its

headquarters at 121 S. 13th, Suite 201, Lincoln, NE 68508. Nelnet does business in

this judicial district. Nelnet is a “furnisher” as that term is used in 15 U.S.C. § 1681s-

2. Its registered agent in Nebraska is CT Corporation System, 5601 South 59th St.,

Lincoln, NE 68516. Nelnet can be served with Summons and a copy of this

Complaint at this address.

   13)       The United States Department of Education is a federal agency

headquartered in the District of Columbia with its principal office located at 400

Maryland Avenue, SW, Washington, D.C. 20202.

   14)       Secretary Betsey DeVos is sued solely in her official capacity as

Secretary of Education, in which capacity she has the ultimate responsibility for the

activities of the Department, including the actions complained of herein. Secretary

maintains an office at 400 Maryland Avenue, SW, Washington, D.C. 20202.

                                      IV. FACTS

   15)        Plaintiff is a natural person.

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   16)        The debt which is the subject of this lawsuit is a consumer debt,

specifically student loans.

   17)        On or about January of 2008, a Federal Direct Plus Student Loan was

taken out in Plaintiff’s name without his knowledge or authorization.

   18)        On or about June of 2010, a second Federal Direct Plus Student Loan

was taken out in Plaintiff’s name without his knowledge or authorization. (The two

loans are referred to herein as the “Loans.”)

   19)        Plaintiff did not receive any benefit from the proceeds of the Loans.

   20)        The Loans were signed with electronic signatures.

   21)        In June of 2012, Plaintiff discovered the Loans while reviewing his

credit information.

   22)        On or about June 28, 2012, Plaintiff filed a police report with the

Rockdale County Sheriff’s Office to report identity theft.

   23)        Plaintiff has repeatedly attempted to contact servicers, collection

agencies, and the Department directly to report that the Loans were the product of

identity theft.

   24)        The Department has continued to attempt to collect payment for the

Loans from Plaintiff despite Plaintiff providing copies of his police report.




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   25)       In March of 2013, Plaintiff submitted a “Certification/Agreement of

Cooperation for Identity Theft Claims” to Nelnet, who was servicing the Loans on

behalf of the Department.

   26)       Even after submitting his Police Report and Certification of

Cooperation, the Department continued to try to collect the Loans from Plaintiff.

   27)       In July of 2018, The Department sent Plaintiff a notice of treasury

offset.

   28)       In response to the Department’s notice of treasury offset, Plaintiff

submitted a request for hearing to the Department to dispute his liability on the

Loans.

   29)       On October 16, 2018, the Department sent Plaintiff a letter informing

him of their decision that he was liable for the Loans (herein, the “October 2018

Hearing Decision”).

   30)       In January of 2019, Plaintiff sent a dispute letter to the credit reporting

agencies Equifax, Trans Union, and Experian (herein, the “CRA Dispute Letter”).

   31)       The CRA Dispute Letter stated that the information being reported by

the Department and Nelnet concerning the Loans was inaccurate.

   32)       The CRA Dispute Letter stated that certain telephone numbers and

addresses on Plaintiff’s credit report were inaccurate.

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   33)       Plaintiff attached a copy of his police report to the CRA Dispute Letter.

   34)       Plaintiff sent the CRA Dispute Letter via certified/ return receipt mail

in January of 2019.

   35)       Upon information and belief, Experian forwarded Plaintiff’s CRA

Dispute Letter and police report to Nelnet.

   36)       Upon information and belief, Trans Union forwarded Plaintiff’s CRA

Dispute Letter and police report to Nelnet.

   37)       Upon information and belief, Equifax forwarded Plaintiff’s CRA

Dispute Letter and police report to Nelnet.

   38)       Upon information and belief, Nelnet performed an investigation of the

dispute and sent the results of their investigation to Experian.

   39)       Upon information and belief, Nelnet performed an investigation of the

dispute and sent the results of their investigation to Trans Union.

   40)       Upon information and belief, Nelnet performed an investigation of the

dispute and sent the results of their investigation to Equifax.

   41)       Experian deleted the accounts which were disputed by Plaintiff.

   42)       Trans Union initially deleted the accounts which were disputed by

Plaintiff.




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   43)         Trans Union subsequently sent Plaintiff a letter on February 4, 2019

which stated that Trans Union had verified the information concerning the Loans

and reinserted this information into Plaintiff’s credit file.

   44)         Equifax never responded to Plaintiff’s dispute letter.

   45)         Defendants have failed to conduct a reasonable investigation of

Plaintiff’s liability for the Loans.

   46)         In December of 2018, the Department sent another notice of treasury

offset to Plaintiff.

   47)         In January of 2019, Plaintiff sent a request for hearing to the

Department again explaining that he was the victim of identity theft and including a

copy of the police report.

   48)         On February 14, 2019, the Department sent a letter to Plaintiff stating

that they had already addressed his concerns about identity theft in their October

2018 letter.

   49)         Plaintiff has subsequently had his monthly railroad retirement benefits

garnished by the Department to collect on the Loans.

   50)         Plaintiff has suffered emotional distress including but not limited to

embarrassment, annoyance, loss of sleep, loss of hope, and humiliation as a result of

Defendants’ behavior.

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   51)        Plaintiff has had erroneous information about his credit history reported

to third parties.

   52)        Plaintiff has suffered loss of funds including treasury offsets, postage,

mileage to and from his attorney’s office as a result of Defendants’ behavior.

                             V. CAUSES OF ACTION

                    I. VIOLATIONS OF THE FCRA BY NELNET

                               [15 U.S.C. § 1681s-2(b)]

   53)        Plaintiff reincorporates and realleges paragraphs 1 through 52 herein.

   54)        Nelnet willfully and/or negligently violated 15 U.S.C. § 1681s-2(b) by

failing to conduct reasonable investigations upon receiving notice of Plaintiff’s

dispute(s) from one or more consumer reporting agencies, and/or by failing to

appropriately report the results of their investigations, and/or by failing to

appropriately modify, delete, and/or block the information.

   55)        As a result of Nelnet’s violations of § 1681s-2(b), Plaintiff has suffered

actual damages not limited to out-of-pocket expenses, detriment to his credit rating

and emotional distress. Plaintiff is therefore entitled to recover actual damages

under 15 U.S.C. §§ 1681n and 1681o.

   56)        Nelnet’s actions and omissions were willful, rendering it liable for

punitive damages and/or statutory damages pursuant to 15 U.S.C. § 1681n.

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   57)       Plaintiff is entitled to recover costs and attorney’s fees from Defendant

Nelnet pursuant to 15 U.S.C. §§ 1681n and 1681o.

                  II. VIOLATIONS OF THE FCRA BY EQUIFAX

                         [15 U.S.C. §§ 1681i and 1681e(b)]

   58)        Plaintiff reincorporates paragraphs 1 through 52 herein.

   59)        Equifax willfully and/or negligently violated 15 U.S.C. § 1681i by

failing to conduct a reasonable reinvestigation to determine whether the information

about the Loans Plaintiff disputed was inaccurate and correct the current status of

the disputed information, or delete the item from Plaintiff’s credit file.

   60)        Equifax willfully and/or negligently violated 15 U.S.C. § 1681e(b) by

failing to follow reasonable procedures to assure maximum possible accuracy of the

information concerning the individual about whom the report relates when it verified

the information about the Loans which Plaintiff had disputed.

   61)        As a result of Equifax’s violations of §§ 1681i and 1681e(b), Plaintiff

has suffered actual damages not limited to out-of-pocket expenses and emotional

distress. Plaintiff is therefore entitled to recover actual damages under 15 U.S.C. §§

1681n and 1681o.

   62)        Equifax’s actions and omissions were willful, rendering it liable for

punitive damages and/or statutory damages pursuant to 15 U.S.C. § 1681n.

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   63)        Plaintiff is entitled to recover costs and attorney’s fees from Equifax

pursuant to 15 U.S.C. §§ 1681n and 1681o.

               III. VIOLATIONS OF THE FCRA BY TRANS UNION

                         [15 U.S.C. §§ 1681i and 1681e(b)]

   64)        Plaintiff reincorporates paragraphs 1 through 52 herein.

   65)        Trans Union willfully and/or negligently violated 15 U.S.C. § 1681i

by failing to conduct a reasonable reinvestigation to determine whether the

information about the Loans Plaintiff disputed was inaccurate and correct the current

status of the disputed information, or delete the item from Plaintiff’s credit file.

   66)        Trans Union willfully and/or negligently violated 15 U.S.C. § 1681e(b)

by failing to follow reasonable procedures to assure maximum possible accuracy of

the information concerning the individual about whom the report relates when it

verified the information about the Loans which Plaintiff had disputed.

   67)        As a result of Trans Union violations of §§ 1681i and 1681e(b),

Plaintiff has suffered actual damages not limited to out-of-pocket expenses and

emotional distress. Plaintiff is therefore entitled to recover actual damages under 15

U.S.C. §§ 1681n and 1681o.

   68)        Trans Union’s actions and omissions were willful, rendering it liable

for punitive damages and/or statutory damages pursuant to 15 U.S.C. § 1681n.

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   69)        Plaintiff is entitled to recover costs and attorney’s fees from Trans

Union pursuant to 15 U.S.C. §§ 1681n and 1681o.

  IV. VIOLATIONS OF THE FCRA BY THE DEPARTMENT OF EDUCATION

                              [15 U.S.C. § 1681s-2(b)]

   70)        Plaintiff reincorporates paragraphs 1 through 52 herein.

   71)       The FCRA defines “person” to include “any . . . government or

governmental subdivision or agency.” 15 U.S.C. §1681a(b).

   72)       The statute imposes duties upon furnishers of information by requiring

“the person that provided the information in dispute . . . [to] conduct an investigation

. . . [and] review all relevant information provided… .” 15 U.S.C. §1681s-

2(a)(8)(E)(emphasis added).

   73)       The FCRA further provides that “any person” who either willfully or

negligently fails to comply “with any requirement under this subchapter with respect

to any consumer” may be held liable for monetary damages. See 15 U.S.C. §1681n;

15 U.S.C. §1681o (emphasis added).

   74)       The Department of Education willfully and/or negligently violated 15

U.S.C. § 1681s-2(b) by failing to conduct reasonable investigations upon receiving

notice of Plaintiff’s dispute(s) from one or more consumer reporting agencies, and/or




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by failing to appropriately report the results of their investigations, and/or by failing

to appropriately modify, delete, and/or block the information.

   75)       As a result of The Department of Education’s violations of § 1681s-

2(b), Plaintiff has suffered actual damages not limited to out-of-pocket expenses,

detriment to her credit rating and emotional distress. Plaintiff is therefore entitled to

recover actual damages under 15 U.S.C. §§ 1681n and 1681o.

   76)       The Department of Education actions and omissions were willful,

rendering it liable for punitive damages and/or statutory damages pursuant to 15

U.S.C. § 1681n.

   77)       Plaintiff is entitled to recover costs and attorney’s fees from The

Department of Education pursuant to 15 U.S.C. §§ 1681n and 1681o.

IV. VIOLATIONS OF THE ADMINISTRATIVE PROCEDURES ACT (“APA”) BY

                       THE DEPARTMENT OF EDUCATION

                                  [5 U.S.C. § 706(b)]

   78)       Plaintiff incorporates paragraphs 1 through 52 herein.

   79)         The APA provides a cause of action in federal district court for any

person aggrieved by final agency action. See 5 U.S.C. §§ 702-704.

   80)         The APA provides that the reviewing court shall hold unlawful and

set aside agency action, findings, and conclusions found to be arbitrary, capricious,

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an abuse of discretion, or otherwise not in accordance with law. Id. § 706(2)(A). The

court must also set aside agency actions, findings, and conclusions found to be in

excess of statutory jurisdiction, authority, or limitations, or short of statutory right.

Id. § 706(2)(C).

   81)         The Department’s own guidance on identity theft discharges states

that “the Secretary determines whether to grant a request for discharge under this

section by reviewing the request and sworn statement in light of information

available from the Secretary's records and from other sources, including guaranty

agencies, State authorities, and cognizant accrediting associations.” 34 C.F.R.

685.215(d).

   82)        The Department’s decisions to deny Plaintiff’s request for discharge

were arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law.

                                VI. TRIAL BY JURY

      83)     Plaintiff is entitled to and hereby demands a trial by jury.

                               VII. PRAYER FOR RELIEF

WHEREFORE, Plaintiff requests judgment be entered against the Defendants as

follows:

      a)      That Plaintiff be awarded statutory, actual, and punitive damages;

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      b)    That Plaintiff be awarded the expenses of litigation including a

      reasonable attorney’s fee;

      c)    That the Court permanently enjoin any further collection on the Loans

      by any party;

      d)    That the Court require all funds collected by Defendant on the Loans

      be returned to Plaintiff;

      e)    Plaintiff seeks a declaratory judgment pursuant to 34 C.F.R. 685.215

      that Plaintiff was the victim of a crime of identity theft;

      f)    That the Court grant such further and additional relief as is just in the

      circumstances.

Respectfully submitted this 26th day of June, 2019.



                                   ARMOR LAW, LLC
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                        CERTIFICATE OF COMPLIANCE
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        I hereby certify that this document was prepared in size 14 Times New Roman
font.

                                 /S/ Chris Armor




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